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TRJNA A. HIGGINS, United States Attorney (#7349)
CAROL A. DAIN, Assistant United States Attorney (#10065)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682

                      IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

  UNITED STATES OF AMERICA,                     Case No. 1:23cr6 HCN

         Plaintiff,                             STATEMENT BY DEFENDANT IN
                                                ADVANCE OF PLEA OF GUILTY
         vs.                                    AND PLEA AGREEMENT PURSUANT
                                                TO FED. R. CRIM. P. ll(c)(l)(C)
  TADASHI KURA KOJIMA, also known
  as, AARON MICHAEL ZEMAN,
                                                Judge Howard C. Nielson
         Defendant.


        I hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have had the assistance of counsel in reviewing,
explaining, and entering into this agreement:

       1.      As part of this agreement with the United States of America, I intend to
plead guilty to Count 2 of the Indictment. My attorney has explained the nature of the
charge against me, and I have had an opportunity to discuss the nature of the charge with
my attorney. I understand the charge and what the United States is required to prove in
order to convict me. The elements of Count 2, Transportation of a Minor with Intent to
Engage in Criminal Sexual Activity are:

               a) The defendant knowingly transported a minor in interstate commerce;

               b) At the time of the transportation, the minor was less than 18 years old;

               c) At the time of the transportation, the defendant intended that the minor
                  would engage in unlawful sexual activity.
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       2.      I know that the maximum possible penalty provided by law for Count 2 of
the Indictment, a violation of 18 U.S.C. § 2423(a), is a term of imprisonment oflife, a
minimum mandatory sentence of 10 years, a fine of $250,000, a term of supervised
release of five years to life, and any applicable forfeiture. I understand that if I violate a
term or condition of supervised release, I can be returned to prison for the length of time
provided in 18 U.S.C. § 3583(e)(3).

         a. Additionally, I know the Court is required to impose the following
assessments:

               1. Under the Justice for Victims of Trafficking Act of 2015 ("JVTA") and
                  pursuant to 18 U.S.C. § 3014, the court must impose an assessment in
                  the amount of $5,000 on any non-indigent person convicted of an
                  offense relating to the sexual exploitation of children. I understand that
                  imposition of this assessment is guided by factors listed in 18 U.S.C. §
                  3553(a) and§ 3572. I understand the court may consider my future
                  ability to pay when imposing this assessment;

              2. The amount of $100 for each offense of conviction, pursuant to 18
                 u.s.c. § 3013.
          b. Furthermore, restitution to the victims of my offense shall be ordered
pursuant to 18 U.S.C. §§ 2259 and 3663A.

            c. I understand that, if I am not a United States citizen, I may be removed
from the United States, denied citizenship, and denied admission to the United States in
the future.

        3.     I know that the sentencing procedures in this case and the ultimate sentence
will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
have discussed these procedures with my attorney. I also know that the final calculation
of my sentence by the Court may differ from any calculation the United States, my
attorney, or I may have made, and I will not be able to withdraw my plea if this occurs.
However, because my plea of guilty is being entered pursuant to Rule 1 l(c)(l)(C), as
explained below, Lknow that I will be able to withdraw my plea if the Court does not
accept the terms of this agreement.

       4.     I know that I can be represented by an attorney at every stage of the
proceeding, and I know that if I cannot afford an attorney, one will be appointed to
represent me.
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      5.     I lmow that I have a right to plead "Not Guilty" or maintain my earlier plea
of "Not Guilty" and can have a trial on the charges against me.

       6.        I know that I have a right to a trial by jury, and I know that if I stand trial
by ajury:

              a. I have a right to the assistance of counsel at every stage of the proceeding.

              b. I have a right to see and observe the witnesses who testify against me.

              c. My attorney can cross-examine all witnesses who testify against me.

            d. I have the right to testify and present evidence, to call witnesses to testify at
trial, and I can obtain subpoenas to require the attendance and testimony of those
witnesses. Ifl cannot afford to pay for the appearance of a witness and mileage fees, the
United States will pay them.

              e. I cannot be forced to incriminate myself, and I do not have to testify at any
trial.

         f. If I do not want to testify, the jury will be told that no inference adverse to
me may be drawn from my election not to testify.

          g. The United States must prove each and every element of the offense
charged against me beyond a reasonable doubt.

              h. It requires a unanimous verdict of a jury to convict me.

          i. If I were to be convicted, I could appeal, and if I could not afford to appeal,
the United States would pay the costs of the appeal, including the services of appointed
counsel.

         7.      If I plead guilty, I will not have a trial of any kind.

        8.    I lmow that 18 U.S.C. § 3742(c)(l) sets forth the circumstances under
which I may appeal my sentence. However, fully understanding my right to appeal my
sentence, and in consideration of the concessions and/or commitments made by the
United States in this plea agreement, I lmowingly, voluntarily and expressly waive my
right to appeal as set forth in paragraph 12 below.

       9.    I know that, under 18 U.S.C. § 3742(c)(2), the United States may only
appeal my sentence if it is less than the sentence set forth in this agreement.

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       10.    I know that under a plea of guilty the judge may ask me questions under
oath about the offense. The questions, if asked on the record and in the presence of
counsel, must be answered truthfully and, if I give false answers, I can be prosecuted for
perJury.

      11.    I stipulate and agree that the following facts accurately describe my
conduct. These facts provide a basis for the Court to accept my guilty plea:

       Between on or about December 26, 2022, and continuing through and
       December 28, 2022, I knowingly travelled from Arizona to the District of
       Utah and then transported the victim, a minor, from Utah to Nebraska. My
       transportation of the minor victim from Utah to Nebraska was for the
       purpose of engaging in sexual activity with the minor. During the
       transportation of the minor between Utah and Nebraska, I intended to and
       did engage in multiple incidents of sexual activity with the victim for which
       I could be criminally charged under the laws of Utah and Nebraska. I admit
       the sexual activity was unlawful. My actions were done in violation of 18
       U.S.C. § 2423(a).

      12.   The only terms and conditions pertaining to this plea agreement between
me and the United States are as follows:

          a. Guilty Plea. I will plead guilty to Count 2 of the Indictment.

          b. Stipulated Sentence. Pursuant to Rule 1 l(c)(l)(C) of the Federal Rules of
Criminal Procedure, the sentence imposed by the Court will be 180 month's
imprisonment, followed by lifetime supervised release, which I agree is a reasonable
sentence.

              ( 1)   I understand that this agreement, including my plea, the agreed upon
sentence, and all other terms referenced herein, are subject to the approval of, and
acceptance by the Court. I further understand that the Court will likely order the
preparation of a Presentence Report to assist in the determination of whether this plea and
the agreement are appropriate, and I agree to fully cooperate in the preparation of the
Presentence Report.

              (2)     If, after receiving all relevant information, the Court rejects the plea
agreement and determines that a sentence different from the agreed upon sentence of 180
month's imprisonment, followed by lifetime supervised release will be imposed, I will
have the right to withdraw the plea of guilty and the terms of this agreement will become
null and void. Likewise, if the Court rejects the plea agreement and determines that the
sentence should be less than 180 month's imprisonment, followed by lifetime supervised
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release, I understand that the United States will have the right to move to vacate this
agreement, and all terms of this agreement will become null and void.

          c. Dismissal of Counts. The United States agrees to move for leave to
dismiss Count 1 at the time of sentencing.

           d. Relevant Conduct. I understand and agree that the Presentence Report
may include descriptions of conduct I engaged in which either was not charged against
me, will not be pleaded to by me, or both. I understand and agree that the Court will take
these facts into consideration in determining the reasonableness of the stipulated
sentence.

          e. Appeal Waiver.

                ( 1)   Fully understanding my limited right to appeal my sentence, as
explained above in paragraph 8, and in consideration of the concessions and/or
commitments made by the United States in this plea agreement, I knowingly, voluntarily,
and expressly waive my right to appeal any sentence imposed upon me, except that I do
not waive the right to appeal as set forth in 18 U.S.C. § 3742(c)(l), which states that I
may not file a notice of appeal unless the sentence imposed is greater than the sentence
set forth in this agreement. I also knowingly, voluntarily, and expressly waive any
argument (1) that the statute to which I am pleading guilty is unconstitutional or (2) that
my admitted conduct does not fall within the scope of the statute.

               (2)    I also knowingly, voluntarily, and expressly waive my right to
challenge my sentence, unless the sentence imposed is greater than the sentence set forth.
in this agreement, and my conviction, in any collateral review motion, writ or other
procedure, including but not limited to a motion brought under 28 U.S.C. § 2255, except
to raise an ineffective assistance of counsel claim. This waiver includes any motion for
modification ofmy sentence under 18 U.S.C. § 3582(c)(2).

              (3)   I understand that this waiver of my appeal and collateral review
rights concerning my sentence shall not affect the United States' right to appeal my
sentence pursuant to 18 U.S.C. § 3742(c)(2) and§ 3742(b)(l) and (2).

              (4)    I further understand and agree that the word "sentence" appearing
throughout this waiver provision is being used broadly and applies to all aspects of the
Court's sentencing authority, including, but not limited to: (1) sentencing detenninations;
(2) the imposition of imprisonment, fines, supervised release, probation, and any specific
terms and conditions thereof; and (3) any orders of restitution.


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               (5)   Additionally, I waive all rights to appeal any issues regarding my
right to presence and the validity of my remote appearance for this and any other hearings
held in this matter.

           f. Presentence Report and Financial Information. I agree to provide
truthful and complete information, including financial information, as requested by the
probation office for the preparation of my presentence report and for determination of the
conditions of my supervised release. I also consent to allowing the United States
Attorney's Office to run a credit check on me. I consent to being placed on the Treasury
Offset Program and State Finder.

          g. Restitution.

               (1)     I agree that I am subject to mandatory restitution because my case
falls within the provisions of 18 U.S.C. § 2429 and 3663A(a)(l) and (c)(l) based on the
charge to which I am pleading guilty. My attorney has explained what mandatory
restitution means.

               (2)   I understand that the amount of restitution and the schedule of
payments will be determined as a part of the sentencing proceedings in accordance with
the provisions of 18 U.S.C. § 3664. I agree to pay all restitution as ordered by the Court. I
agree that the payment and enforcement ofmy restitution order is governed by 18 U.S.C.
§ 3664, and my lawyer has explained the consequences of an order of restitution.

               (3)    I understand and agree that payment of any restitution owed,
pursuant to the schedule set by the Court at sentencing, should be a condition of any term
of probation or supervised release imposed upon me. I know that ifl fail to pay
restitution as ordered, the failure can be considered a violation of probation or supervised
release and, pursuant to 18 U.S.C. § 3614, the Court can resentence me to any sentence
which might originally have been imposed in my case.

          h. Waiver of Interest. The United States agrees to recommend that the Court
waive interest for fines and restitution assessed against me.

          1.   Forfeiture.

                ( 1)   I agree to the administrative, civil, or criminal forfeiture to the
United States of any property noted as subject to forfeiture in the indictment, information,
bills of particulars, or seized or restrained in the investigation underlying the indictment
or information, and will not contest, challenge, or appeal in any way such forfeiture,


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including the forfeiture of:

   •   Republic of Gamers laptop, model RYZEN 4000, series AX200NGW, SN
       L8NRKD003182337
   •   ASOF TUF Fl 7 Gaming laptop, model TUF706HM, SN M7NRCX06El l 730G
   •   Motorola CE Cell phone, type MC36F
   •   Garmin Approach S20, SN4D02 l 7330
   •   White 1998 Toyota Avalon, VIN number 4T1BF18Bl WU284416

             (2)     I acknowledge that this property is subject to forfeiture under 18
u.s.c. § 2428.
               (3)    I consent to entry of any orders, judgments, or declarations of
forfeiture regarding such property and waive the requirements (including notice of the
forfeiture) of 19 U.S.C. §§ 1607-1609; 18 U.S.C. §§ 981,983, and 985; the Code of
Federal Regulations; and Rules 11 and 32.2 of the Federal Rules of Criminal Procedure. I
consent to any criminal forfeiture order becoming final as to me upon its entry.

               (4)    I will not claim the property or oppose its forfeiture, nor help anyone
else do so, and will testify truthfully in any forfeiture proceeding. As far as I know, no
other third party has an interest in the property. I withdraw any previous administrative
forfeiture claims and petitions for remission related to the property. I will not claim
property sought for forfeiture from other defendants related to my case. I will sign any
documents necessary to ensure that clear title to the property passes to the United States.

             (5)   I waive any claims I may have against the govermnent, its officers,
employees, and agents regarding the seizure, forfeiture, storage, and disposal of the
property.

              (6)      I waive any constitutional or statutory challenges to the forfeiture,
including that it is an excessive fine or punishment.

       13.     Notice of Sex Offender Registration. I know that under the Sex Offender
Registration and Notification Act, a federal law, I must register and keep the registration
current in each of the following jurisdictions: the location of my residence, the location of
my employment; and, if I am a student, the location of my school. Registration will
require that I provide information that includes name, residence address, and the names
and addresses of any places at which I am or will be an employee or a student. I
understand that I must update my registrations not later than three business days after any
change of name, residence, employment, or student status. I understand that failure to
comply with these obligations subjects the defendant to prosecution for failure to register
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under federal law, 18 U.S.C. § 2250, which is punishable by a fine or imprisomnent, or
both.

        14.     I understand and agree that this plea agreement is solely between me and
the United States Attorney for the District of Utah and does not bind any other federal,
state, or local prosecuting, administrative, or regulatory authorities.

      15.   I understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

                                 *     *      *     *

      I make the following representations to the Court:                  J
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                                                                  ./, 'f;/J
                                                                  5
                                                                                           ½,-<--
    1.   Ia      :'l,. years of age. My education consists of _________ . I
 _ _ _ ___,_ [can/ annot] read and understand English.

       2.     This Statement in Advance contains all terms of the agreement between me
 and the United States; ifthere are exceptions, the Court will be specifically advised, on
 the record, at the time of my guilty plea of the additional terms. I understand the United
 States and I cannot have terms of this plea agreement that are not disclosed to the Court.

      3.     No one has made threats, promises, or representations to me that have
 caused me to plead guilty, other than the provisions set forth in this agreement.

       4.    Neither my attorney nor the United States has promised me that I would
 receive probation or any other form of leniency because of my plea.

       5.    I have discussed this case and this plea with my lawyer as much as I wish,
 and I have no additional questions.

      6.     I am satisfied with my lawyer.

       7.     My decision to enter this plea was made after full and careful thought; with
 the advice of counsel; and with a full understanding of my rights, the facts and
 circumstances of the case and the consequences of the plea. I was not under the
 influence of any drugs, medication, or intoxicants when I made the decision to enter the
 plea, and I am not now under the influence of any drugs, medication, or intoxicants.

       8.    I have no mental reservations concerning the plea.



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       9.    I understand and agree to all the above. I know that I am free to change or
 delete anything contained in this statement. I do not wish to make changes to this
 agreement because I agree with the terms and all the statements are correct.

       DATED this      f6f\,,,day of   A/ov.              Z 0 Z: "I




                                                 TADASHI KURA KOJIMA
                                                 aka, AARON MICHAEL ZEMAN
                                                 Defendant

       I certify that I have discussed this plea agreement with the defendant, that I have
fully explained his rights to him, and that I have assisted him in completing this written
agreement. I believe that he is knowingly and voluntarily entering the plea with full
knowledge of his legal rights and that there is a factual basis for the plea.

       DATED this \'6.1'~ day of No'-f.                  ,-Z 0 '2: '1




       I represent that all terms of the plea agreement between the defendant and the
United States have been, or will be at the plea hearing, disclosed to the Court, and there
are no undisclosed agreements between the defendant and the United States.

       DATEDthis      rn~ayofwi)~~~7.,i
                                                 TRINA A. HIGGINS
                                                 United States Attorney



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                                                 Assistant United States Attorney


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